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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION
                         _____________________________________

JOHN DOE,

               Plaintiff,                              Case No.      1:19-cv-226

                                                       Hon. Paul L. Maloney




vs.




MICHIGAN STATE UNIVERSITY;
ROBERT KENT, in his individual and official capacity,
RICK SCHAFER, in his individual and official capacity,
ARON SOUSA, M.D., in his individual and official capacity,
jointly and severally,

            Defendants.
__________________________________________________________________________/

STIPULATED ORDER REGARDING EXTENSION TO FILE RESPONSE TO
             DEFENDANTS’ MOTION TO DISMISS

         NOW COME the parties by and through their respective counsel and hereby

stipulate:

      1. Defendants’ attorney has filed a Motion to Dismiss Plaintiff’s First Amended

         Complaint.

      2. Attorney for Plaintiff is traveling extensively over the next month related to

         her contracted services training public defenders for the Michigan Indigent


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      Defense Commission and in her duties as a faculty member for the Trial

      Lawyers College, including:

         a. August 28-30 – Traveling to Berrien County to facilitate Michigan
            Indigent Defense Commission training program;
         b. September 3-6 – Traveling to Sanilac County to facilitate Michigan
            Indigent Defense Commission training program;
         c. September 7-9 – Traveling to Iron Mountain to facilitate Michigan
            Indigent Defense Commission training program;
         d. September 10-13 – Traveling to Manistee County to facilitate Michigan
            Indigent Defense Commission training program;
         e. September 19-27 – Traveling to Dubois, Wyoming to participate as
            faculty at the Trial Lawyers College.


   3. Due to this extensive travel schedule, attorney for Plaintiff has requested an

      extension of the due date for Plaintiff’s response to the Motion to Dismiss to

      October 3, 2019. Defendants’ counsel has consented to the requested

      extension.

   4. Plaintiff’s response to the Defendants’ Motion to Dismiss will be due on

      October 3, 2019.



                                       /s/ Keeley D. Blanchard
Dated: August 28, 2019                 ___________________________
                                       Keeley D, Blanchard (P68661)
                                       BLANCHARD LAW
                                       Attorney for Plaintiff
                                       309 S. Lafayette St., Ste 208
                                       Greenville, MI 48838
                                       (616) 773-2945
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                                           /s/ Scott R. Eldridge, with permission
 Dated: August 28, 2019                    _______________________________
                                           Scott R. Eldridge (P66452)
                                           Miller Canfield Paddock & Stone, PLC
                                           Attorney for Defendants
                                           One Michigan Ave., Ste. 900
                                           Lansing, MI 48933
                                           (517) 487-2070
                                           eldridge@millercanfield.com




                                ORDER


          For the reasons stated in the stipulation, the deadline for Plaintiff to respond

to Defendants' motion to dismiss is extended to October 3, 2019. A hearing on the

motion is scheduled for November 19, 2019 at 1:30 p.m., 174 Federal Building,

Kalamazoo, Michigan.

        IT IS SO ORDERED.

 Dated:     August 28, 2019                  /s/ Paul L. Maloney
                                          __________________________________________
                                          Hon. Paul L. Maloney
                                          U.S. District Court Judge




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